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Attorneys for Defendant State of Idaho

                        UNITED STATES DISTRICT COURT

                                    DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                      Case No. 1:22-cv-329

                       Plaintiff,               DEFENDANT STATE OF IDAHO’S
                                                NON-OPPOSITION TO IDAHO
 v.                                             LEGISLATURE’S MOTION TO
                                                INTERVENE (DKT. 15)
 THE STATE OF IDAHO,

                       Defendant.



       Defendant State of Idaho, by and through its undersigned counsel, pursuant to Dist.

Idaho Loc. Rule 7.1(a)(5), hereby notify the Court and opposing counsel of its non-

opposition to Idaho Legislature’s Motion to Intervene (Dkt. 15).

///



DEFENDANT STATE OF IDAHO’S NON-OPPOSITION TO IDAHO LEGISLATURE’S
MOTION TO INTERVENE (DKT. 15) - 1
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       DATED this 10th day of August, 2022.

                                                STATE OF IDAHO
                                                OFFICE OF THE ATTORNEY GENERAL


                                           By: /s/ Megan A. Larrondo
                                               MEGAN A. LARRONDO
                                               Deputy Attorney General


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 10th day of August, 2022, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of
Electronic Filing to the following persons:

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                                                   /s/ Megan A. Larrondo
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DEFENDANT STATE OF IDAHO’S NON-OPPOSITION TO IDAHO LEGISLATURE’S
MOTION TO INTERVENE (DKT. 15) - 2
